     Case 1:23-cr-00149-JLT-SKO Document 24 Filed 07/26/23 Page 1 of 1


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6                              IN THE UNITED STATES DISTRICT COURT
7                            FOR THE EASTERN DISTRICT OF CALIFORNIA
8    UNITED STATES OF AMERICA,                     )      Case №: 1:23-MJ-00081-3-EPG
                                                   )
9                     Plaintiff,                   )                    ORDER
                                                   )               APPOINTING COUNSEL
10            vs.                                  )
                                                   )
11   SHANNON KATHRYN CALHOUN,                      )
                                                   )
12                    Defendant.                   )
                                                   )
13
              The above-named Defendant has, under oath, sworn or affirmed as to her financial
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15   inability to employ counsel or has otherwise satisfied this Court that she is financially unable to

16   obtain counsel and wishes counsel be appointed to represent her. Therefore, in the interests of

17   justice and pursuant to the U.S. CONST., amend VI and 18 U.S.C. § 3006A,
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              IT IS HEREBY ORDERED that Michael G. McKneely be appointed to represent the
19
     above defendant in this case effective nunc pro tunc to July 17, 2023.
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              This appointment shall remain in effect until further order of this court, or until the
21
22   pending criminal matter and any direct appeal is resolved, whichever is first.

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24   IT IS SO ORDERED.
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     Dated:     July 25, 2023
26                                                        UNITED STATES MAGISTRATE JUDGE

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